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                     Exhibit 9
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                                                                      February 1   o. 2010

           National Black Coalition of Federal Aviation Employees
                             MD-715 Compllance Effort
                                  TALKING POINTS


BACKGROUND: In late 2008, NBCFA5 sent a letter to the FAA Office of Civil Rights
requesting a copy of each of the last five years' MD-715 Report from FAA to the Equal
Employee Opportunity Commission (EEOC). The FAA responded to that request by
sending the reports for years 2004, 2005, 2006, and 2007. Upon receipt of those
reports, the NBCFAE contracted with Dr. Herbert \tVong and Associates to conduct a11
expert analysis of that Information. That analysis was completed and the assoclate-d
report was delivered to NBCFAE in the summer of 2009. Among the many conclusions
drawn from that analysis, the followit,g Hems stood out:
      The FAA/DOT Is the least diverse agoncy/depattment, when compared to all the
      Executive Branch Departments In the Federal Government.
      The FAA/DOT has the lowest Percentage of Minority Employees In the Federal
      Civilian Workforce, when compared lo all other Executive Branch Deparlmenls In
      lhe Federal Government.
       Afrir..an Americans constitute 9.47 percent of the FAA Workforce as compared to
       17.6 percent in the Federal Civilian Workforce. Thus, the FAA would be required
       to increase their complement of African American employees by 8.13 percent to
       reach parody with the f=ederal Civilian Workforce.
That Information was very compelling and prompted the NBCFAE National Executive
Board to seek cause{s) for the sustained und-errepresentation of minoriti s at,d vl()men
Within FAA.
In July of 20091 we senl an introductory letter lo lhe FAA Administrator, and requested
to meet with hltn concernlng disparate treatment and under-representation In FAA. That
request was denied, ,md we were lr)formed the Adminlslrator would not meet
it)dMdually wlth Employee Associations, However, he would continue the pracfice of
meeHng with all ernployee association rep1·ese1 tatlves jol ntly1 at the Na.tlonel Employee
Forum. That ansiNer was nol a.cceptable to the Natlonal Executive Board.

So, in October 20091 the board sent a follow-up leIler lo the Secretary of Transportation,
and lhe FAA Admin!slralor, ihal leller outlined our position lhat FAA Is not In
compliance wilh cer1aln provisions of lhe EEOC's Management Directive (MD) 7151 or
lhe U.S. Supreme Court declsiot,s related to the Adarand Construotlo111 Inc. v. Pena,
and the City of Richmond VJ.A. Croson Ca. We, agaln1 requested ta meet with lhe
FAA Administrator. (n:w spt."Cifics of toose ck.·•cfsirms will be pfaced on our website)
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WHAT IS M0..715?
Management Oirectlve 715 {MD-715) Is the policy guidance which lhe equal
Employment Opportunity Commission (EEOC) provides to federal agencies for their
use In establishing an2.ooalOJ,!J.IDlrJg effective programs of equal employment
opportunity under Section 717 of Title VII of the CMI Rights Acl of '1964 (Title VII), as
amended, 42 u.s.c. § 20000 et seq., and Section 501 of the Rehtlbllitatlon Act of
1973 (Rehabilitation Act). as amended. 29 u.s.c. § 791 et seq. M0-715 provides a
roadmap for creating effoolive equal employment opportunity (EEO) programs for an
federal employees as required by Tille VII and the RehabHttation Act. It also sets
forth the general reporting requiroments tor a.II federal agoncies. MD715 took effect
on October 11 2003.


WHY SHOULD WE BE CONCERNED ABOUT THEIR NON..COMPLIANCE?
Under•represen1ation of minority, wo1nen1 and disabled employees is apparent in lhe
FAA \.Yorkplace. a use of the agency's failure to comply with the provisions of Mo..
7151 there is no actionable plan to effectively address those conditions, Thus1 we
continue to experience huge disparities in Hiring, Selootions1 Promotions, PayJ Awards,
ar)d Training!Developmoni Opportunilies, as compared to olher federal employees.

WHAT ARE WE DOING?

A group of senior members of NBCFAE. (TEAM 7) dratted a plan 10 move the FAA
towards the desired diversity in their workforce. In January 201O that plan was
approved by the National Executive Committee. While we will not reveal the run details
of that pl a11 the following i11it!a1ives have beon completed or are now in progress:
      As indicated above, we requested to meet with FAA Administrator BabbiH. That
      request was denied, However1 on February 4, 201Owe met with officlal of FAA,
      The results or that meeting will oo forthcoming, Meeting participants were:

                                                               Nsti-onat Bh;rnk Coalition of
                                                              ,F&d&t;nl AViaUQn Employ_ee.s

   Fann)r Rivera1 Associate Adminlstretor
   for the Office of Civit Rights
                                                    Roooovelt Lenard, National Vic;-.e President
   Vantrls Gibson, A.. o<CJato Admlnlstrmor
   for the Office of Human r,e-soo,oes              M21rgaret<.t Bonlos. Wru;hington Hoadqum'le:rs
                                                    Roglor,al Prosltlont
   Jorry Melk)dy1 A.ttornay for the Office of
   Gc-norw Counsoli Extorn I Arfairs                Ro11afd S a,glt )11 EEO Action Committee
                                                    Chairperson
   Julia Rhodes, li.tt-orney for the OW::.ie of
   General Counsel, Peraonn,el and Labor
   La.w
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   We have re-directed a portion of our Nalional Operational Budget to support this
   effort.
   We are building a coalition of supporters from entities, outside the FAA, that
   possess the power to lnflueooe the FAA to do what Is legally required, and right
   for its employees. The first organization to slgnup Is the Reverend Jesse Jackson
   and Rainbow PUSH. Other Organizations we hope to bring on board illciude the
   NAACP, National Urban League, and Blacl<s•ln..Government.

    We are contacting selected U.S. House and Senatorial Representatives about the
    ongoing problems$ and requesting their assistance to call the FAA to task.

    We are re-initiating our efforts to gather information concerning discriminatoty
    practices in 1he FAA.

    We are re•toolingour EEO Complaint 1raining in order to educate members on
    more enective ways to address their EEO issues and/or successfully navigate the
    EEO Complalnl process.

WHAT CAN YOU DO?

     Become intimately tammar with the etto1i and be prepared to discuss it with
     others. (Members and Non members)
                                4




     Join other clvlt tlghts based groups such es the Rainbow PUSH, NAACP, a11d
     Urban League, at the local level.
     Go to our new Website. Tailor the contact letter lo fit your needs. Print the letter
     and mall lt to your respective congressional representatives.
     Document the specifics of your personal experiences co11eerning FAA
     discriminatory practices, and send that information to:
            Mr. Rooafd Ba{Jfey
            NBCFAE EEO Action Chairperson
            2'/ 20 61'8.nd Gleaton Pass
            Conyers, GA 30013
            Cell (770) 815-6885
            Fax (770) 78,5·6767
            Em;.111: Ron td.Ba.g1Hy@mbcfae.org
                   Bagss m@aoLcom

     Leam 1he EEO prncess fol' yourself. Be avallable, and participate in lhe
     NBCFAE provided EEO Complaint lralnlr)g.
